       Case 1-18-40038-nhl            Doc 31       Filed 04/03/18    Entered 04/03/18 14:44:22



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                                     Chapter 11

        84 ELTON LLC,                                                      Case No.: 18-40038-nhl

                                    Debtor.
--------------------------------------------------------x

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK                  )
                                   ) ss:
COUNTY OF SUFFOLK                  )

        AVRUM J. ROSEN, being duly sworn, deposes and says:

     Deponent is not a party to this action, is over 18 years of age and resides at Centerport,
New York;

          On the 3rd day of April, 2018 deponent served the NOTICE and DEBTOR’S
APPLICATION SEEKING ENTRY OF AN ORDER UNDER BANKRUPTCY CODE
SECTIONS 363(a), (b), (f) and (m) AND BANKRUPTCY RULES 2002, 6004 AND 9004: (1)
AUTHORIZING DEBTOR TO SELL REAL PROPERTY KNOWN AS 321 PULASKI STREET,
BROOKLYN, NEW YORK TO THE HIGHEST AND BEST BIDDER AT AN AUCTION
SALE; (2) SCHEDULING A HEARING TO APPROVE SUCH SALE TO THE HIGHEST AND
BEST BIDDER; (3) APPROVING CERTAIN BIDDING PROCEDURES; AND (4)
APPROVING THE MANNER AND EXTENT OF NOTICE OF SUCH AUCTION HEARING
ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM AND APPROVING THE
FORM AND MANNER OF NOTICE THEREOF, upon the attorneys/parties listed on the annexed
list at the addresses listed, said addresses designated for that purpose, by depositing a true copy of
same enclosed in a postpaid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York by
First Class Mail:

See attached list

                                                                    /s/ Avrum J. Rosen
                                                                    Avrum J. Rosen
Sworn to before me this
3rd day of April, 2018

s/ Scott T. Dillon
SCOTT T. DILLON
Notary Public, State of New York
No. 02D16152101
Qualified in Suffolk County
Commission Expires October 22, 2018
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George Rodriguez                                       George Rodriguez
4341 Fairlane Drive                                    383 Pulaski Street
North Port, FL 34288-7340                              Brooklyn, NY 11206-7244




Internal Revenue Service                               Internal Revenue Service
c/o United States Attorney                             Centralized Insolvency
Eastern District of NY                                 PO Box 7346
271 Cadman Plaza, FL. 7                                Philadelphia, PA 19101-7346
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Nazrul Islam                                                NYC Department of Finance
127-21 Liberty Avenue                                       TP&P Division
S. Richmond Hill, NY 11419-2215                             Bankruptcy Unit
                                                            345 Adams Street, FL. 5
                                                            Brooklyn, NY 11201-3719


NYC Department of Finance                                   NYC Department of Finance
Tax, Audit and Enforcement Division                         One Centre Street, Room 2435
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NYS Department of Taxation & Finance                        NYCTL 1998-2 Trust and The Bank of NY Mellon
Bankruptcy Procedures                                       c/o MTAG Services, LLC
PO Box 5300                                                 Attn: Maria Triolo
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Office of the United States Trustee                         Polo Group LLC
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New York, NY 10014-9449
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